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                      UNITED STATES DISTRICT COURT
                                                  for the
                                         District of Colorado

                                                           Case No.   20-cv-00452-WJM-SKC
                   Tiffany Grays, pro se
                         Plaintiff(s)

                           -V-

        Equifax Inc. d/b/a/ Equifax Information
    Services LLC., Experian Information Solutions,
    Inc., Trans Union LLC., Innovis Data Solutions,
        Inc., Navient Corporation d/b/a Navient
                      Solutions, Inc.
                      Defendant(s)



                                  PLAINTIFF’S DECLARATION

    I, Tiffany Grays, being duly sworn, under the penalty of perjury, state as follows:
               1. I am the Plaintiff in the above-entitled action and I am familiar with the file,

                   records and pleadings in this matter.

               2. All statements in all Plaintiff’s pleadings and motions are true and accurate,

                   including:

                       i. Defendant has failed to produce any records which show the removal of

                           the Late Payments after this instant case was at issue. (Declaration of

                           Plaintiff).

                       ii. Plaintiff’s complaint to the student loan ombudsperson and the subsequent

                           investigation found the “150 day” (ECF No. 103-4 p. 3) late payment to

                           be in err and requested NSL remove the payment, which NSL did; further

                           establishing NSL’s FCRA violations.


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                 iii. The removal of the Late Payments caused an increase in Plaintiff’s credit

                     worthiness and allowed Plaintiff to secure credit from over 5 lenders, there

                     is no other explanation for the significant increase. (Declaration of

                     Plaintiff).

                 iv. Plaintiff loans at all time relevant were in forbearance or deferment and

                     thus Plaintiff was not required to make any payments to NSL.

                     (Declaration of Plaintiff).

                  v. As a student loan servicer, NSL is a contractor of the U.S. Government,

                     thus is required to abide by the terms and conditions of the government’s

                     contracts. Therefore, NSL would be considered responsible for the breach

                     of the terms of the contract by failing to afford Plaintiff a six month grace

                     period as required by the MPN. (Declaration of Plaintiff).

                 vi. The conduct of Defendant constitutes violations of multiple Colorado

                     Consumer statues. (Declaration of Plaintiff).

                                   Respectfully Submitted,



                                                                          /s/ Tiffany Grays, pro se
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                      UNITED STATES DISTRICT COURT
                                                for the
                                      District of Colorado

    Tiffany Grays, pro se                                       20-cv-00452-WJM-SKC
            v
    Navient Solutions, et al

                           CERTIFICATE OF SERVICE
    I hereby certify that on the 6th day of June 2022, I have filed the foregoing with the Clerk of
    Court using the CM/ECF system, which will also e-mail a true and correct copy of this document
    to the following:
    DOCUMENT: PLAINTIFF’S DECLARATION


     Dennis N. Lueck                                   Kevin J. Burns
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                                                       Consumer Credit Enforcement Unit
                                                       Colorado Department of Law
                                                       Ralph L. Carr Colorado Judicial Center
                                                       Counsel for Martha Fulford, Administrator
                                                       of the Colorado Student Loan Equity Act




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